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                   Exhibit A
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                   SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                 CIVIL DIVISION

JANE DOE 2, et al.,                                :
                                                   :
                           Plaintiffs,             :           Case No. 2014 CA 007644 B
                                                   :           Case No. 2014 CA 008073 B
                      v.                           :           Case No. 2015 CA 007814 B
                                                   :           Calendar 12
THE GEORGETOWN SYNAGOGUE -                         :           Judge Brian F. Holeman
KESHER ISRAEL CONGREGATION,                        :
et al.,                                            :
                                                   :
                           Defendants.             :

                                               ORDER

          This matter comes before the Court upon consideration of Plaintiffs’ Consent Motion for

Final Approval of the Class Settlement, Attorneys’ Fees, Costs, and Service Payments, filed on

October 17, 2018. Further, the Court has reviewed exhibits annexed to this Motion, including

the Settlement Agreement and Release (“Settlement” or “Settlement Agreement”) and supporting

declarations, as well as the pleadings, other court filings, and notes from proceedings in this case

to date, including the Status Hearing on the instant Motion, convened on October 22, 2018.

I.        FACTUAL BACKGROUND AND PROCEDURAL HISTORY

          The Factual Background and Procedural History are set forth in the Order of this Court

granting preliminary approval of the Class Settlement, and are incorporated herein by this

reference as though fully set forth. (Order, Sept. 19, 2018 at 1-5.)

II.       THE APPLICABLE LAW

          The District of Columbia Official Code § 11-921, governs subject matter jurisdiction. It

states:

                 (a) Except as provided in subsection (b), the Superior Court has
                 jurisdiction of any civil action or other matter (at law or in equity)
                 brought in the District of Columbia. Such jurisdiction shall vest in
                 the court as follows:
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                        (1) Beginning on the effective date of the District of
                        Columbia Court Reorganization Act of 1970, the court has
                        jurisdiction of any civil action or other matter begun before
                        such effective date in the District of Columbia Court of
                        General Sessions, the Juvenile Court of the District of
                        Columbia, or the District of Columbia Tax Court.

                        (2) Beginning on such effective date, the court has
                        jurisdiction of any civil action or other matter, at law or in
                        equity, which is begun in the Superior Court on or after
                        such effective date and in which the amount in controversy
                        does not exceed $50,000.

          D.C. Code § 13-422 governs personal jurisdiction based upon enduring relationship. It

states:

                 A District of Columbia court may exercise personal jurisdiction
                 over a person domiciled in, organized under the laws of, or
                 maintaining his or its principal place of business in, the District of
                 Columbia as to any claim for relief.

          D.C. Code § 13-423 governs personal jurisdiction based upon conduct. It states:

                 (a) A District of Columbia court may exercise personal jurisdiction
                 over a person, who acts directly or by an agent, as to a claim for
                 relief arising from the person’s —

                        (1) transacting any business in the District of Columbia;

                        (2) contracting to supply services in the District of
                        Columbia;

                        (3) causing tortious injury in the District of Columbia by an
                        act or omission in the District of Columbia;

                        (4) causing tortious injury in the District of Columbia by an
                        act or omission outside the District of Columbia if he
                        regularly does or solicits business, engages in any other
                        persistent course of conduct, or derives substantial revenue
                        from goods used or consumed, or services rendered, in the
                        District of Columbia;

                        ....

                        (b) When jurisdiction over a person is based solely upon
                        this section, only a claim for relief arising from acts
                        enumerated in this section may be asserted against him.

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The Superior Court Rules of Civil Procedure, Rule 23, governs class actions. It states:

       (a) Prerequisites. One or more members of a class may sue or be
       sued as representative parties on behalf of all members only if:

               (1) the class is so numerous that joinder of all members is
               impracticable;

               (2) there are questions of law or fact common to the class;

               (3) the claims or defenses of the representative parties are
               typical of the claims or defenses of the class; and

               (4) the representative parties will fairly and adequately
               protect the interests of the class.

       (b) Types of class actions. A class action may be maintained if
       Rule 23(a) is satisfied and if:

               (1) prosecuting separate actions by or against individual
               class members would create a risk of:

                      (A) inconsistent or varying adjudications with
                      respect to individual class members that would
                      establish incompatible standards of conduct for the
                      party opposing the class; or

                      (B) adjudications with respect to individual class
                      members that, as a practical matter, would be
                      dispositive of the interests of the other members not
                      parties to the individual adjudications or would
                      substantially impair or impede their ability to
                      protect their interests;

               ....

       (e) Settlement, voluntary dismissal, or compromise. The claims,
       issues, or defenses of a certified class may be settled, voluntarily
       dismissed, or compromised only with the court's approval. The
       following procedures apply to a proposed settlement, voluntary
       dismissal, or compromise:

               (1) The court must direct notice in a reasonable manner to
               all class members who would be bound by the proposal.

               (2) If the proposal would bind class members, the court
               may approve it only after a hearing and on finding that it is
               fair, reasonable, and adequate.

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               (3) The parties seeking approval must file a statement
               identifying any agreement made in connection with the
               proposal.

               (4) If the class action was previously certified under Rule
               23(b)(3), the court may refuse to approve a settlement
               unless it affords a new opportunity to request exclusion to
               individual class members who had an earlier opportunity to
               request exclusion but did not do so.

               (5) Any class member may object to the proposal if it
               requires court approval under Rule 23(e); the objection may
               be withdrawn only with the court's approval.

               ....

       (h) Attorneys’ fees and nontaxable costs. In a certified
       class action, the court may award reasonable attorneys’ fees
       and nontaxable costs that are authorized by law or by the
       parties' agreement. The following procedures apply:

               (1) A claim for an award must be made by motion
               under Rule 54(d)(2), subject to the provisions of
               Rule 23(h), at a time the court sets. Notice of the
               motion must be served on all parties and, for
               motions by class counsel, directed to class members
               in a reasonable manner.

               (2) A class member, or a party from whom
               payment is sought, may object to the motion.

               (3) The court may hold a hearing and must find the
               facts and state its legal conclusions under Rule
               52(a).

               (4) The court may refer issues related to the amount
               of the award to a special master or a magistrate
               judge, as provided in Rule 54(d)(2)(D).

Rule 54 governs judgments and costs. It states, in pertinent part:

       (b) Judgment on multiple claims or involving multiple parties.
       When an action presents more than one claim for relief -- whether
       as a claim, counterclaim, crossclaim, or third-party claim -- or
       when multiple parties are involved, the court may direct entry of a
       final judgment as to one or more, but fewer than all, claims or
       parties only if the court expressly determines that there is no just

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               reason for delay. Otherwise, any order or other decision, however
               designated, that adjudicates fewer than all the claims or the rights
               and liabilities of fewer than all the parties does not end the action
               as to any of the claims or parties and may be revised at any time
               before the entry of a judgment adjudicating all the claims and all
               the parties' rights and liabilities.

                       ....

               (d) Costs; attorneys' fees.

                       (1) Costs other than attorneys' fees. Unless an applicable
                       statute, these rules, or a court order provides otherwise,
                       costs -- other than attorneys’ fees -- should be allowed to
                       the prevailing party. But costs against the United States, the
                       District of Columbia, or officers and agencies of either may
                       be imposed only to the extent allowed by law. The clerk
                       may tax costs on 14 days' notice. On motion served within
                       the next 7 days, the court may review the clerk's action.

       In order to satisfy class certification a party must meet the requirements of Rule 23(a) and

at least one subdivision of Rule 23(b).

       Numerosity is satisfied where the class is so numerous that joinder of all members is

impracticable. Super. Ct. R. Civ. P. 23(a)(1). Plaintiffs do not need to provide the exact number

of potential class members to satisfy this requirement. Kifafi v. Hilton Hotels Ret. Plan, 189

F.R.D. 174, 176 (D.D.C. 1999).1 Numerosity is presumed at 40 members. Bynum v. District of

Columbia, 214 F.R.D. 27, 33 (D.D.C. 2003). The Court may “draw reasonable inferences from

the facts presented to find the requisite numerosity.” Coleman v. District of Columbia, 306

F.R.D. 68, 76 (D.D.C. 2015) (citing McCuin v. Sec’y of Health & Human Servs., 817 F.2d 161,
1
        The Superior Court is not bound by the decisions of the federal district court. M.A.P. v.
Ryan, 285 A.2d 312 (D.C. 1971) (stating that the Court Reform Act declared that “[the] highest
court of the District of Columbia is the District of Columbia Court of Appeals.”). However, the
Superior Court will defer to non-conflicting federal authority on matters of procedural
interpretation. D.C. Code §11-946 (2018) (stating that the Superior Court “shall conduct its
business according to the Federal Rules of Civil Procedure and the Federal Rules of Criminal
Procedure (except as otherwise provided in Title 23) unless it prescribes or adopts rules which
modify those Rules.”); Sellars v. United States, 401 A.2d 974, 978 (D.C. 1979) (stating that
“local court rules of procedure which parallel the federal rules are to be construed in light of the
meaning given to the latter.”).

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167 (1st Cir. 1987)). Further, Plaintiffs must show that joinder is impracticable. DL v. District of

Columbia, 302 F.R.D. 1, 11 (D.D.C. 2013). “Demonstrating impracticability of joinder ‘does

not mandate that joinder of all parties be impossible—only that the difficulty or inconvenience of

joining all members of the class make use of the class action appropriate.’” Id. (citing Cent.

States SE. & SW. Areas Health & Welfare Fund v. Merck-Medco Managed Care, L.L.C., 504

F.3d 229, 244-245 (2d Cir. 2007)).

       Commonality is satisfied where there are common questions of law or fact to parties in

the class. Super. Ct. R. Civ. P. 23(a)(2). It is not necessary that every member of the class share

the same issue of law or fact. Bynum, 214 F.R.D. at 33. “The touchstone of the commonality

inquiry is ‘the capacity of a classwide proceeding to generate common answers apt to drive the

resolution of the litigation.’” Coleman, 306 F.R.D. at 82 (citing Wal-Mart Stores, Inc. v. Dukes,

131 S. Ct. 2541, 2551, 180 L. Ed.2d 374 (2011)). “[F]actual variations among the class

members will not defeat the commonality requirement, so long as a single aspect or feature of

the claim is common to all proposed class members.” Id. Commonality is also satisfied where

there is a common question of law or fact and the same evidence can be used by each member of

the class to make a prima facie showing of liability. Julian Ford v. ChartOne, Inc., 908 A.2d 72,

85-86 (D.C. 2006).

       Typicality is satisfied where “the claims or defenses of the representative parties are

typical of the claims or defenses of the class.” Super. Ct. R. Civ. P. 23(a)(3). Typicality focuses

on whether the representative of the class suffered similar injury from the same cause of conduct

that gives rise to the other class members’ claims. Bynum, 214 F.R.D. at 34; Moore v.

Napolitano, 269 F.R. D. 21, 32 (D.D.C. 2010). “Essentially, the class representative’s claim is

typical of the claims of the class if his or her claim and those of the class arise from the same

event or pattern or practice and are based on the same legal theory.” Julian Ford, 908 A.2d at 86


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(citing Singer v. AT&T Corp., 185 F.R.D. 681, 689 (S.D. Fla. 1998)). The purpose of typicality

is to ensure that the class representative’s claims are the same as other class members to

safeguard their interests. Bynum, 214 F.R.D. at 34. Factual variations do not destroy typicality.

Id.; Howard v. Liquidity Servs. Inc., 322 F.R.D. 103, 118-119 (D.D.C. 2017) (citing Wagner v.

Taylor, 836 F.2d 578, 591 (D.C. Cir. 1987)).

       Adequacy of representation is satisfied where “the representative parties will fairly and

adequately protect the interests of the class.” Super. Ct. R. Civ. P. 23(a)(4). “Two criteria for

determining the adequacy of representation are generally recognized: 1) the named

representative must not have antagonistic or conflicting interests with the unnamed members of

the class, and 2) the representative must appear able to vigorously prosecute the interest of the

class through qualified counsel.” Julian Ford, 908 A.2d at 86 (citing Twelve John Does v.

District of Columbia, 326 App. D.C. 17, 21, 117 F.3d 571, 575 (1997)). If the Court can

conclude that by “pursuing their own interests vigorously the named representatives will

necessarily raise all claims or defenses common to the class, representativeness will be

satisfied.” Id. (citing United States v. Trucking Emp’rs., 75 F.R.D. 682, 688 (D.D.C. 1997)).

       An action that satisfies the prerequisites of Rule 23 (a) must also meet the requirements

of one or more of the three subdivisions of subpart (b). Certification under Rule 23(b)(1)(B), is

“proper on the grounds that the claims made are numerous against a fund that is insufficient to

satisfy all the claims." Ortiz v. Fibreboard Corp., 527 U.S. 815, 834 (1999). Every award made

to a claimant reduces the total amount of funds available to other claimants until some claimants

are unable “to obtain full satisfaction of their claims, while others are left with no recovery at

all.” In re Black Farmers Discrimination Litig., 856 F. Supp. 2d 1, 16 (D.D.C. 2011).

       To qualify for class certification on such a limited fund rationale, the Moving Plaintiffs

must meet three criteria. Ortiz, 527 U.S. at 838. First, “the total of the aggregated liquidated


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claims and the fund available for satisfying them, set definitely at their maximums, demonstrate

the inadequacy of the fund to pay all the claims." Id. at 839. Second, "the whole of the

inadequate fund” must be dedicated "to the overwhelming claims." Id. Third, all claimants to

the fund who are "identified by a common theory of recovery [must be] treated equitably among

themselves." Id.; In re Black Farmers Discrimination Litig., 856 F. Supp. 2d at 16.

        Rule 23(e) controls class action settlements. The Court may approve a proposed

settlement “after a hearing and on finding that it is fair, reasonable, and adequate.” There is no

set test for determining whether a proposed settlement is fair, reasonable, and adequate.

However, the Court in addressing a class action settlement will typically “consider (1) whether

the proposed settlement appears to be the product of serious, informed, non-collusive

negotiations, (2) whether it falls within the range of possible judicial approval, and (3) whether it

has any obvious deficiency, such as granting unduly preferential treatment.” Ross v. Lockheed

Martin Corp., 267 F. Supp. 3d 174, 194 (D.D.C. 2017) (citing Richardson v. L’Oreal USA, Inc.,

951 F.Supp.2d 104, 106-107 (D.D.C. 2013)).

        The Court notes that there are five additional factors that are generally considered when

it must decide whether the proposed settlement is fair, adequate, and reasonable: “(1) whether the

settlement is the result of arms-length negotiations; (2) the terms of the settlement in relation to

the strengths of plaintiffs’ case; (3) the status of the litigation proceedings at the time of the

settlement; (4) the reaction of the class; and (5) the opinion of experienced counsel.” Alvarez v.

Keystone Plus Constr. Corp., 303 F.R.D. 152, 163 (D.D.C. 2014); Livengood Feeds, Inc. v.

Merck KGaA (in re Vitamins Antitrust Litig.), 305 F. Supp. 2d 100, 104 (D.D.C. 2004).

        Rule 23(e) requires that all class members be provided with adequate notice of the

proposed settlement. The Court “must direct notice in a reasonable manner to all class members

who would be bound by the proposal.” Super. Ct. R. Civ. P. 23(e)(1).


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       Under Rule 23(h) the “[C]ourt may award reasonable attorneys[’] fees and nontaxable

costs that are authorized by law or by the parties’ agreement. Under the “‘American Rule,’ a

party who prevails in litigation is not entitled to recover attorneys’ fees from the losing party.”

Passtou, Inc. v. Spring Valley Center, 501 A.2d 8, 11 (D.C. 1985) (citation omitted). However,

there are exceptions to the American Rule as “[t]he common fund or benefit exception to the

American Rule is fully recognized in the District of Columbia.” Id. (citation omitted). The

“[c]ourts have applied the doctrine in a broad range of contexts in which one Plaintiffs’ litigation

efforts created a pool of money from which others benefitted, or merely conferred a non-

monetary benefit on them.” Pearline Peart v. D.C. Hous. Auth., 972 A.2d 810, 818 (D.C. 2009).

“[P]ercentage-of-the-fund method is the appropriate mechanism for determining the attorneys[’]

fees award in common fund cases[, and may] range from fifteen to forty-five percent." Stephens

v. US Airways GRP., Inc., 102 F. Supp. 3d 222, 230 (D.D.C. 2015). The Court, in evaluating fee

requests, may consider:

                (1) the size of the fund created and the number of persons
               benefitted; (2) the presence or absence of substantial objections by
               members of the class to the settlement terms and/or fees requested
               by counsel; (3) the skill and efficiency of the attorneys involved;
               (4) the complexity and duration of the litigation; (5) the risk of
               nonpayment; (6) the amount of time devoted to the case by
               plaintiffs' counsel; and (7) the awards in similar cases.

Id. (citation omitted). The Court may “use the lodestar as a cross-check on the propriety of fees

awarded under the percentage-of-the-fund method, sometimes adjusting the percentage or the

award upward or downward accordingly.” Id. “Courts may approve payment for expenses

associated with administering the settlement where class members had notice that such expenses

would be paid out of the settlement fund.” Id. at 232. Further, “[i]t is common for courts to

approve incentive awards in class-action litigations, especially when there is a common fund

created to benefit the entire class.” Little v. Wash. Metro. Area Transit Auth., 313 F. Supp. 3d


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27, 35 (D.D.C. 2018). The Court in deciding whether to grant service awards in class actions

involving a common fund can evaluate “‘the actions the plaintiff has taken to protect the interests

of the class, the degree to which the class benefitted from those action[s], and the amount of time

and effort the plaintiff expended in pursuing the litigation.’” Id. (citation omitted).

III.   FINDINGS OF FACT

       1.       The Class members are females who were videorecorded by Defendant Bernard

       Freundel from July 1, 2005, through October 14, 2014, who disrobed in the National

       Capital Mikvah’s ritual bath and/or associated facilities. (Mem. of P. & A., Oct. 17, 2018

       at 5.)

       2.       Defendant Freundel was the supervising Rabbi for Defendant National Capital

       Mikvah and employed by Defendant the Georgetown Synagogue-Kesher Israel

       Congregation. (Am. Compl. at 10.)

       3.       Defendant Freundel resided in a home located at 3026 O Street, NW, Washington,

       D.C. 20007. (Id. at 9.)

       4.       The Georgetown Synagogue-Kesher Israel Congregation is an Orthodox Jewish

       Congregation located at 2801 N Street, NW, Washington, D.C. 20007. (Id. at 10.)

       5.       Defendant the National Capital Mikvah, Inc. owns and operates the Mikvah

       located at 1308 28th Street, NW, Washington, D.C. 20007. (Id.)

       6.       Defendant the Rabbinical Council of America has its principal place of business

       at 305 Seventh Avenue, 12th Floor, New York, NY 10001. (Id.)

       7.       Defendant the Beth Din of America has its principal place of business at 305

       Seventh Avenue, 12th Floor, New York, NY 10001. (Id.)

       8.       Defendants the Rabbinical Council of America and the Beth Din of America

       established and oversee the religious court located in the District of Columbia, which


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supervises, authorizes, and approves Orthodox conversions performed in the District of

Columbia. (Am. Compl. at 10.)

9.       Defendant Freundel videorecorded Plaintiffs who disrobed in the National Capital

Mikvah’s ritual bath and/or associated facilities. (Id. at 6.)

10.      The videorecording by Defendant Freundel and the failure to act and/or omissions

of the Defendants caused Plaintiffs’ serious emotional distress and negative perceptions

towards Judaism, the mikvah, and Jewish institutions. (Id.)

11.      The Total Settlement Amount creates a non-reversionary fund of $14,250,000.00.

(Mem. of P. & A. at 1.)

12.      The Total Settlement Amount will be used to make payments directly to Class

Members, with the remainder of the Total Settlement Amount to be used for (a) fees and

expenses for the Settlement Administrator and an Independent Claims Expert; (b) Court-

awarded attorneys’ fees and expenses; and (c) Court-awarded service payments to the

Plaintiffs who brought and assisted in the litigation against the Settling Defendants. (Id.

at 3.)

13.      Notice of the Class Action Settlement has been provided by the Settlement

Administrator who sent the long-form Notice and Registration Form to 772 potential

Class Members via mail and/or email. (Id. at 4.)

14.      The United States Attorney’s Office of the District of Columbia has emailed the

Notice and Registration Form to all persons on its contact list. (Id.)

15.      The Settlement Administrator arranged for the publication of the short-form

notice, which has appeared in the Washington Post, the Washington Jewish Week, the

Baltimore Jewish Times, the Baltimore Sun, the Jewish Week, the Forward, Kol HaBirah,

and the Jerusalem Post. (Id.)


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16.      The Settlement was publicized on websites maintained by the Settlement

Administrator, Sanford Heisler Sharp, and Chaikin, Sherman, Cammarata, & Siegel,

P.C., and to several non-profit organizations in the Washington, D.C. area. (Mem. of P. &

A. at 4-5.)

17.      The United States Attorney’s Office of the District of Columbia confirmed that

Bernard Freundel videotaped over 150 Women, and over 140 Class Members have

submitted Registration Forms to participate in the Settlement. (Id. at 6.)

18.      No conflicts between the Class Representatives and Class Members have arisen.

(Id. at 8.)

19.      The Defendants are religious institutions and, consequently, there are inadequate

funds from these institutions available for the purpose of satisfying these multiple claims.

(Id. at 9.)

20.       The consolidated cases have been pending for nearly four years, and the parties,

through experienced counsel, have used the majority of this time to debate their positions

and effectuate settlement through Mediation, facilitated by the stay of all proceedings

imposed by the Court. (Id. at 12; Sanford Decl. at 2, 4-5.)

21.      There has been no objection to the Settlement Agreement made by any Class

Member. (Mem. of P. & A. at 15.)

22.      The attorneys’ fees have been calculated using the percentage-of-the-fund

method and the requested sum is $4,750,000.00, representing one-third of the Total

Settlement Amount. (Id. at 17.)

23.     Litigation expenses and costs total $299,833.39, representing nearly four years of

associated legal services and over 5,400 hours. (Id. at 25.)




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       24.     The lodestar cross-check confirms that the requested attorneys’ fees are

       reasonable, as the law firms of Sanford Heisler Sharp, LLP, Chaikin, Sherman,

       Cammarata, & Siegel, P.C., and Silverman, Thompson, Slutkin and White, LLC applied

       their billing rates in line with attorneys of comparable skill, experience, and reputation

       and the lodestar value of Plaintiffs’ Counsel’s time in this case to date totals nearly

       $3,700,000.00. (Id. at 25-26; Sanford Decl. at 6-7; Silverman, Thompson, Slutkin and

       White LLC Decl. at 5-6.)

       25.     No Class Members have objected to the attorneys’ fees. (Mem. of P. & A. at 19.)

       26.     Plaintiffs’ Counsel seeks service payments between $2,500.00 and $25,000.00,

       for a total amount of $180,000.00 for each of the Plaintiffs who brought claims against

       the Settling Defendants. (Id. at 28; Sanford Decl. at 9.)

       27.     No Class Members have objected to the service awards. (Id. at 30.)

       28.     Plaintiffs project that a total approaching $175,000.00 will be used for third-party

       administrative costs, such as expenses to administer the Settlement, and fees and costs for

       the Settlement Administrator and the Independent Claims Expert. (Id. at 27.)

IV.    CONCLUSIONS OF LAW

       A.      JURISDICTION

       The Court has subject matter jurisdiction over this action under D.C. Code § 11-921, as

the complaint arises out of Defendant Freundel’s actions of videotaping Plaintiffs who disrobed

at the National Capital Mikva’s ritual bath in the District of Columbia. The Court has personal

jurisdiction over Defendant the Georgetown Synagogue-Kesher Israel Congregation and

Defendant National Capital Mikvah, Inc. under D.C. Code § 13-422, as both Defendants

maintain their principal place of business in the District of Columbia. The Court has personal

jurisdiction over Defendant Freundel under D.C. Code § 13-422, as Defendant Freundel is


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domiciled in the District of Columbia. Further, the Court has personal jurisdiction over

Defendants the Rabbinical Council of America and the Beth Din of the United States of America

under D.C. Code § 13-423, as the tortious conduct committed arose out of Defendants

transaction of business, their acts and/or omissions, and their rendering of services in the District

of Columbia.

       B.      ADEQUACY OF NOTICE

       The Court finds that the requirement of notice has been satisfied under Rule 23(e).

Notice to 772 Class Members was received through long-form Notice and Registration Forms.

Circulation of the Short-form Notice was circulated in the Washington Post, the Washington

Jewish Week, the Baltimore Jewish Times, the Baltimore Sun, the Jewish Week, the Forward,

Kol HaBirah, and the Jerusalem Post. Notice was also circulated through websites maintained

by the Settlement Administrator and to several non-profit organizations in Washington, D.C.

Further, the United States Attorney’s Office of the District of Columbia has already confirmed

that over 140 Class Members have submitted Registration Forms to participate in the Settlement.

       C.      FINAL CERTIFICATION OF THE PROPOSED CLASS

       The Court finds that the requirements of numerosity, commonality, typicality, and

adequacy of representation are satisfied under Rule 23(a). Numerosity has been satisfied as over

140 Class Members have submitted Registration Forms to participate in the Settlement.

Commonality has been satisfied as the Class Members share common questions of law or fact,

such as whether Defendant Freundel videotaped females without their consent and whether

Defendant Freundel acted as an agent or employee of any of the Defendants within the course

and scope of his employment. Typicality is satisfied as Plaintiffs’ claims or defenses were that

of the other members of the class and their injuries arose from the unauthorized and personally

invasive videorecording of the ritual bath in the National Capital Mikvah facility. Adequacy of


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representation is satisfied as there was no conflict between the representative party and class

members, and counsel for Plaintiffs performed the required work on behalf of the Class

Members.

       The Court finds that certification is appropriate under Rule 23(b)(1)(B); the intended

consequence is, in part, to reduce the risk of multiple individual adjudications and potential

impediments to non-members or non-party members to protect their interests. The Court

appreciates that the Defendants are religious institutions and, consequently, that there would be

inadequate funds from these institutions available for the purpose of satisfying these multiple

claims. The Court is satisfied that the funds, as addressed in the papers, would be dedicated to

the claims, fees, and expenses related to the consolidated actions. The Court is further satisfied

that the individual claimants, the members, would be treated equally here.

       D.      FINAL APPROVAL TO THE SETTLEMENT AS FAIR, REASONABLE,
               AND ADEQUATE

       The Court finds that the Final Settlement is a fair, reasonable, and adequate result of

arm’s length negotiations. The Court appreciates that the case has lasted nearly four years with

two years of mediation and negotiation. The Court also finds that the Total Settlement Amount

falls within the range of possible judicial approval, and over the four years there has been

sufficient litigation to support final approval. The Court is also satisfied with the reaction of the

Class, as not a single Class Member has objected. The Court appreciates the experience of lead

counsel in the Settlement Agreement. The Court is satisfied that there is no undue preferential

treatment and that notice was adequate.

       E.      THE APPLICATION FOR ATTORNEYS’ FEES, EXPENSES, AND
               SERVICE PAYMENTS

       The Court finds that attorneys’ fees and nontaxable costs are reasonable under Rule 23(h)

and Rule 54(d). The Court finds that the percentage-of-the-fund method is appropriate in


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determining the attorneys’ fee award in common fund cases, and the Court has further cross-

check the attached lodestar in determining the reasonableness of Plaintiffs’ attorneys’ fees. The

Court is satisfied that the requested sum of $4,750,000.00 in attorneys’ fees and the sum of

$299,833.39 for expenses incurred by the law firms are reasonable as compared to the funds in

the Total Settlement Amount, no objections from Class Members pertaining to the attorneys’

fees, the 5,400 hours worked by Plaintiffs’ counsel, experience of counsel, the complexity of the

litigation, the risk of nonpayment, and the awards in similar cases.

       The Court finds that third-party costs are reasonable. The amount of $175,000.00 is an

appropriate amount for the orderly administration of the Settlement, such as costs for the

provision of Notice and costs associated with calculating and issuing settlement payments to

Class Members. Further, the amount is appropriate for the fees and costs associated with the

Settlement Administrator and the Independent Claims Expert.

       Further, the Court is satisfied that the service payments to the Plaintiffs who brought

claims against the settling Defendants are reasonable. The Court finds that the amount of

$180,000.00 is appropriate for the actions taken by Plaintiffs over the last four years, the degree

to which Class Members benefitted from the Settlement Agreement, and the amount of time

expended by Plaintiffs in pursuing this case.

       WHEREFORE, it is this 24th day of October 2018, hereby

       ORDERED, that Plaintiff’s Consent Motion for Final Approval of the Class Settlement,

Attorneys’ Fees, Costs, and Service Payment is GRANTED; and it is further

       ORDERED, that final certification of the following Class pursuant to D.C. Super. Ct. R.

Civ. P. 23(b)(1) is GRANTED:

               All females whom the United States Attorney’s Office for the
               District of Columbia has identified as having been videorecorded
               by Bernard Freundel from July 1, 2005, through October 14, 2014,
               and/or who otherwise disrobed, either partially or completely, in

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                 the National Capital Mikvah’s ritual bath and/or associated
                 facilities, including the anteroom, changing rooms, showers, and/or
                 bathroom (regardless of whether they were videorecorded), at any
                 time from July 1, 2005 through October 14, 2014.

and it is further

          ORDERED, that final approval to the Settlement pursuant to D.C. Super. Ct. R. Civ. P.

23(e) is GRANTED; and it is further

          ORDERED, that each and every term of the Settlement Agreement is hereby adopted,

incorporated, and made part of this Judgment as if fully set forth herein, and shall be effective,

implemented, and enforced as provided in the Settlement Agreement; and it is further

          ORDERED, that the effective Date of the Settlement is October 22, 2018; and it is

further

          ORDERED, that the parties to the Settlement (including Travelers), the Court-appointed

Settlement Administrator (RG/2 Claims Administration LLC), and the Independent Claims

Expert (Annie Steinberg, M.D.) shall administer the Settlement Agreement in accordance with

its terms and provisions; and it is further

          ORDERED, that in accordance with the Settlement Agreement, Travelers shall pay the

Total Settlement Amount of $14,250,000.00 by no later than November 5, 2018; and it is further

          ORDERED, that the Court-appointed Settlement Administrator shall: (1) distribute all

settlement monies in accordance with the Settlement and as further directed herein; (2) issue

Base Payments to Registered Class Members on November 26, 2018; and (3) issue the

Confidential Claim Form to Registered Class Members on November 26, 2018; and it is further

          ORDERED, that the Claim Form Deadline shall be January 25, 2019; and it is further

          ORDERED, that Class Counsel shall have the authority to make minor modifications or

additions to the Confidential Claim Form as requested by the Independent Claims Expert or as



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otherwise necessary to promote accessibility, clarity, intelligibility, and/or reliability; and it is

further

          ORDERED, that the request for approval of service awards ranging from $2,500.00 to

$25,000.00 and totaling $180,000.00, as set forth in the Settlement Agreement, is GRANTED;

and it is further

          ORDERED, that the Settlement Administrator shall issue these service payments as set

forth in the Settlement Agreement; and it is further

          ORDERED, that the Settlement Administrator shall pay from the Total Settlement

Amount the sum of $4,750,00.00 for attorneys’ fees and the sum of $299,833.39 for expenses to

the law firms of Sanford Heisler Sharp, LLP, Chaikin, Sherman, Cammarata, & Siegel, P.C., and

Silverman, Thompson, Slutkin and White, LLC, the fees to be divided among these law firms as

set forth in the Settlement Agreement and expenses to be reimbursed to the law firms that

incurred the expenses; and it is further

          ORDERED, that the request for approval of payment from the Total Settlement Amount

of fees and costs for the Court-appointed Settlement Administrator (including any third-party

vendor with whom it contracts to perform services) and for the Court-appointed Independent

Claims Expert (including any personnel working at her direction) consistent with the estimate of

$175,000.00, is GRANTED; and it is further

          ORDERED, that without affecting the finality of the Judgment, the Court hereby

reserves exclusive and continuing jurisdiction and venue with respect to the consummation,

implementation, enforcement, construction, interpretation, performance, and administration of

the Settlement and this Judgment; and it is further

          ORDERED, that the consolidated cases comprised of Case Nos. 2014 CA 008073 B and

2015 CA 000814 B, are hereby DISMISSED WITH PREJUDICE; and it is further


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       ORDERED, that there is NO JUST REASON FOR DELAY in the entry of this Order

and Final Judgment and immediate entry by the Clerk of the Court is expressly directed pursuant

to D.C. Super. Ct. R. Civ. P. 54(b).




                                                        ____________________________
                                                             BRIAN F. HOLEMAN
                                                                   JUDGE

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